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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION


 UNITED STATES OF AMERICA

         v.

 CHONG LAM, et al.,                                       Action No. 3:07-CR-374

                                 Defendants.

                                MEMORANDUM OPINION

        THIS MATTER is before the Court on Defendants’ Post-Trial Motion Pursuant to

Rules 29(c) and 33 of the Federal Rules of Criminal Procedure (Doc. No. 313) and

Defendants’ Motion to Dismiss or for a New Trial for Prosecutorial Misconduct and

Supplemental Argument in Support of Defendants’ Motion for a New Trial Pursuant to Rule

33 (Doc. No. 346). The parties appeared before the Court on November 4, 2010, to present

oral arguments. For the reasons stated below, Defendants’ Motions are DENIED.

   I.         BACKGROUND

        Defendants Chong Lam (“Lam”) and Siu Yung Chan (“Chan”) were the owners and

officers of several companies that produced and imported non-infringing, infringing, and

counterfeit luxury goods, including wallets and handbags, into the United States. Defendants’

companies were actually corporations used to thwart port authorities’ attempts to identify

and confiscate counterfeit or infringing products. Lam and Chan employed Defendant Eric

Yuen (“Yuen”) in several of their corporations.



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       Between 2002 and 2005, agents with United States Customs and Border Protection

(“CBP”) seized myriad containers of handbags and wallets imported from China. The items

were imported into various ports throughout the United States and CBP agents seized

Defendants’ merchandise from ports in Houston, Texas, Newark, New Jersey, Los Angeles,

California, New York, New York, and Norfolk, Virginia. After each seizure, CBP agents

issued seizure notices to Defendants’ various corporations informing them that CBP seized

the goods because they potentially violated United States trademark laws.

       A subsequent investigation revealed that Defendants imported into the United States

more than 300,000 handbags and wallets in the names of different companies, including

Global Import, Inc., Marco Leather Goods, Ltd., Marco USA Inc., The Perfect Impressions,

Inc., LY (USA), Inc., CP (USA) Inc., and Coco USA. Whenever CBP agents would identify

one corporation as an importer of counterfeit goods, Defendants would continue to import

goods into the same port, but under a different corporate name. If Defendants believed CBP

agents could identify them as responsible for importing counterfeit goods into a port, they

would ship the goods to a different port.

       A federal grand jury sitting in Richmond, Virginia returned a seven-count

Superseding Indictment against Defendants on March 26, 2009, charging them with one

count of Conspiracy to Traffic in Counterfeit Goods, in violation of 18 U.S.C. § 371, four

counts of Trafficking in Counterfeit Goods, in violation of 18 U.S.C. § 2320(a), and two

counts of Smuggling Goods into the United States, in violation of 18 U.S.C. § 545.




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         After a seven-day trial, a jury acquitted Yuen, but convicted Lam and Chan of one

count of Conspiracy to Traffic in Counterfeit Goods, two counts of Trafficking in Counterfeit

Goods, and two counts of Smuggling Goods into the United States. Defendants were

convicted of counterfeiting a mark registered by Burberry Limited (“Burberry”), registration

number 2,022,789, depicting a check pattern (“Burberry Check Mark”). Burberry also owns a

registered mark, registration number 2,512,119 depicting an equestrian knight (“Burberry

Knight Mark”), which was not charged in the Superseding Indictment. Burberry often uses

the Knight Mark and Check Mark together on merchandise, but has not registered the two as

a composite mark. Defendants’ merchandise features a copyrighted mark consisting of a

mounted knight integrated into a check pattern (“Marco Mark”).

   II.      LEGAL STANDARD

            a. Rule 29(c) Motion for Judgment of Acquittal

         “A defendant may move for a judgment of acquittal, or renew such a motion, within

14 days after a guilty verdict or after the court discharges the jury, whichever is later.” Fed.

R. Crim. P. 29(c)(1). If the jury returned a guilty verdict, the court can “set aside the verdict

and enter an acquittal.” Fed. R. Crim. P. 29(c)(2).

         The test for determining if a court should grant a motion for judgment of acquittal is

“whether there is substantial evidence (direct or circumstantial) which, taken in the light

most favorable to the prosecution, would warrant a jury finding that the defendant was

guilty beyond a reasonable doubt.” United States v. MacCloskey, 682 F.2d 468, 473 (4th Cir.

1982). If “after viewing the evidence in the light most favorable to the government, any


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rational trier of fact could have found the elements of the offense beyond a reasonable

doubt,” the jury’s verdict must stand. United States v. United Med. & Surgical Supply Corp.,

989 F.2d 1390, 1402 (4th Cir. 1993).

             b. Rule 33 Motion for a New Trial

          Rule 33 of the Federal Rules of Criminal Procedure provides that, upon a defendant’s

motion, a court “may vacate any judgment and grant a new trial if the interest of justice so

requires.” If the request for a new trial is based on newly discovered evidence, the defendant

must file the Rule 33 motion within three years after the verdict or finding of guilty. Fed. R.

Crim. P. 33(b)(1). If the request is for any other reason, the defendant must file the motion

within fourteen days of the jury’s verdict. Fed. R. Crim. P. 33(b)(2). Whether a defendant

gets a new trial is left to the trial court’s discretion. United States v. Smith, 451 F.3d 209, 216‐

17 (4th Cir. 2006). Courts should, however, use their discretion to grant a new trial sparingly,

and only do so if “the evidence weighs so heavily against the verdict that it would be unjust

to enter judgment.” United States v. Arrington, 757 F.2d 1484, 1485 (4th Cir. 1985). When

deciding whether to grant a motion for a new trial, the court is allowed to consider all

evidence introduced at the trial and can evaluate trial witnesses’ credibility. Id.

   III.      DISCUSSION

             a. Rule 29(c) Motion for Judgment of Acquittal

          Defendants argue that the Court should enter a judgment of acquittal pursuant to

Rule 29(c) because, after giving the Government the benefit of all reasonable inferences, the

evidence is insufficient to sustain a guilty verdict. Defendants set forth two reasons for their


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position: (1) the Burberry and Marco marks are legally distinguishable and do not meet the

legal threshold required by the trademark counterfeiting statute, and (2) it is unreasonable to

conclude that the Marco Mark was not a composite mark.

       Defendants cite Schneider Saddlery Co., Inc. v. Best Shot Pet Products Intern., LLC,

No. 1:06-CV-02602, 2009 WL 864072, at *4 (N.D. Ohio Mar. 31, 2009), for the proposition

that a mark is not a counterfeit if there are slight differences between it and a registered

mark, “so long as [the differences] are apparent to the typical consumer upon minimal

inspection.” Defendants assert that their mark is legally distinguishable from the Burberry

Check Mark because the Burberry Check Mark has white or very light-colored lines,

whereas the Marco Mark has white and tan lines. Defendants also assert that the shapes of

the marks are different, as the Burberry Check Mark features a square, whereas the Marco

Mark is rectangular. Because of these differences, Defendants assert that the Marco Mark is

not substantially indistinguishable from the Burberry Check Mark and, thus, the evidence

doesn’t support a guilty verdict and a judgment of acquittal should be entered.

       The Government, on the other hand, contends that the differences Defendants cite

are not enough to escape liability under 18 U.S.C. § 2320, as a spurious mark does not have to

be identical to a registered mark to be counterfeit.

       The Court agrees with the Government. Defendants’ argument that the marks on

their handbags and wallets are legally distinguishable from the marks on Burberry’s

merchandise because they have a slightly different color and shape is unavailing. It simply

cannot be that a defendant may modify a registered mark in trivial ways and escape liability


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because the counterfeit is not identical to the registered mark. The trademark counterfeiting

statute’s legislative history indicates as much:

       [A] mark need not be absolutely identical to a genuine mark in order to be
       considered ‘counterfeit.’ Such an interpretation would allow counterfeiters to
       escape liability by modifying the registered trademarks of their honest
       competitors in trivial ways.

130 Cong. Rec. H31676 (daily ed. Oct. 10, 1984) (Joint Statement on Trademark

Counterfeiting Legislation). Because 18 U.S.C. § 2320 does not require that a spurious mark

be identical to a registered mark to impose criminal liability for counterfeiting, Defendants’

argument that their Marco Mark is legally distinguishable from Burberry’s Check Mark

because approximately twenty percent of the marks are different cannot prevail.

       Defendants next argue that they are entitled to a judgment of acquittal because the

Government did not introduce substantial evidence that the Marco Mark was not a

composite mark. A composite mark is a mark that has several separate component marks.

Boston Duck Tours, LP v. Super Duck Tours, LLC, 531 F.3d 1, 9 (1st Cir. 2008). “If a mark

contains components that ‘are so merged together that they cannot be regarded as separate

elements . . . the mark is a single unitary mark.’” Id. (quoting 4 Thomas McCarthy, McCarthy

on Trademarks and Unfair Competition § 19:66 (4th ed. 2008)). Defendants cite this anti-

dissection rule as proof that the law requires that a registered composite only be compared to

another composite, as “[t]he commercial impression of a trademark is derived from it as a

whole, not from its elements separated and considered in detail.” Estate of P.D. Beckwith,

Inc. v. Comm’r of Patents, 252 U.S. 538, 545-46 (1920). Defendants assert that the



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Government told the jury to ignore the question of whether the Marco Mark was a

composite, which Defendants maintain was legally erroneous because the jury was not free

to wholly ignore part of a composite mark. Defendants further argue that a composite mark

creates a distinct commercial impression that is not substantially indistinguishable from the

individual component marks. Thus, the Marco Mark is not substantially indistinguishable

from either of its component pieces or the Burberry Check Mark or Equestrian Knight Mark.

       The Government maintains that there was more than enough evidence at trial to

support the jury’s guilty verdict and that a rational jury found that Defendants’ Marco Mark

was substantially indistinguishable from the Burberry Check Mark. The Government states

that it did not have to prove Defendants used a mark identical to or substantially

indistinguishable from the Burberry Equestrian Knight Mark, which was not charged in the

Superseding Indictment, or a hypothetical composite mark consisting of the Burberry Check

Mark and Equestrian Knight Mark. The Government further contends that Defendants

cannot escape liability for counterfeiting one registered mark just because they did not

counterfeit a second registered mark typically used in conjunction with the first. This

essentially means Defendants cannot escape liability for counterfeiting the Burberry Check

Mark just because they did not counterfeit the Equestrian Knight Mark. Finally, the

Government asserts that nothing limited its authority to prosecute Defendants for

counterfeiting just one of two marks often used together on Burberry merchandise. See

United States v. Yi, 460 F.3d 623, 629 n.4 (5th Cir. 2006) (stating that if an owner of two

independent marks uses both marks on a product, each mark may be enforced independently


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of the other, despite their combined use on one product). Consequently, because the jury was

only required to find that Defendants counterfeited one Burberry mark, and because the jury

so found, the jury verdict should stand.

       The determination of whether two marks are substantially indistinguishable is

exclusively within the purview of the jury. In the case currently before the Court, a rational

jury could, and in fact did, reject Defendants’ composite mark theory and found that the

Marco Mark was substantially indistinguishable from the Burberry Check Mark. The Court

will not disturb this finding. Accordingly, Defendants’ Motion for Judgment of Acquittal

pursuant to Rule 29 of the Federal Rules of Criminal Procedure is denied.

           b. Rule 33 Motion for a New Trial

       Defendants urge the Court to grant them a new trial pursuant to Rule 33 because they

believe the Government’s errors at trial are reasonably likely to have affected the jury’s

judgment and there is a serious danger that a miscarriage of justice has occurred.

       Whether prosecutorial misconduct is reversible depends on two factors: (1) whether

the prosecutor’s remarks or conduct were improper, and (2) whether the remarks or conduct

prejudicially affected the defendant’s rights such that he or she was deprived of a fair trial.

United States v. Chorman, 910 F.2d 102, 113 (4th Cir. 1990).

                   i. The Government’s Remarks Were Improper

       Defendants assert that the Government erroneously told the jury that, in evaluating

whether marks are substantially indistinguishable, jurors must assess them from the

standpoint of an ordinary consumer in the marketplace. Defendants maintain that the law


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actually requires the jury to compare the spurious mark and the registered mark side-by-side

to determine if they are substantially indistinguishable.

       Defendants point to several occasions on which the Government argued or suggested

incorrect law to the jury. Defendants first point to the cross examinations of defense

witnesses Christopher Sprigman and Mark McKenna as examples of the Government’s

arguing the wrong law before the jury. Defendants assert that, during Sprigman’s cross

examination, the Government incorrectly suggested that the trademark system exists so

customers do not have to compare products in the marketplace. Defendants interpret this as

the Government’s attempt to convey to the jury that it would be unfair to allow the jury to

do a side-by-side comparison, as this is not what the average person does out in the

marketplace. With respect to McKenna, Defendants assert that, during his cross

examination, the Government suggested that the appropriate analysis for the jury is not a

side-by-side comparison of marks, but rather an analysis that involves members of the jury

putting themselves in the shoes of consumers in the marketplace.

       Defendants also argue that, during closing arguments, the Government repeatedly and

erroneously told members of the jury that they should evaluate both the substantially

indistinguishable and likelihood of confusion elements of a counterfeiting claim by putting

themselves into the shoes of the average consumer in the marketplace.

        The Government argues that it did not err in stating the standard for evaluating

whether an allegedly counterfeit mark is substantially indistinguishable from a registered

mark. The Government asserts that to determine if two marks are substantially


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indistinguishable, the jury must evaluate the marks from the perspective of the average

purchaser, as opposed to an expert. The Government cites Pepe Ltd. v. Ocean View Factory

Outlet Corp., 770 F. Supp. 754, 758 (D.P.R. 1991), for the proposition that the determination

of whether marks are substantially indistinguishable must be made from the standpoint of an

average consumer, not from that of an expert. The Government maintains that this was not

an error. Furthermore, the Government asserts that counsel held up an authentic Burberry

handbag right next to a bag bearing Defendants’ Marco Mark and told the jury to compare

them. Thus, contrary to Defendants’ assertion, the Government told the jury to do a side-by-

side comparison and did not argue improper law.

       The Government’s comments regarding the standard for evaluating whether two

marks are substantially indistinguishable were erroneous. Simply put, the Government’s

telling jurors on multiple occasions that they were to determine whether the marks were

substantially indistinguishable by using the average person standard was erroneous. It has

become clear to the Court that the Government does not understand the error it made.

When determining if a spurious mark counterfeits a registered mark, the law requires the

jury to compare the marks side-by-side to determine if they are substantially

indistinguishable. See, e.g., United States v. Yamin, 868 F.2d 130, 135 (5th Cir. 1989) (“[t]he

jury compared the seized watches with originals or pictures of the originals” to determine if

they were substantially indistinguishable); Rolex Watch U.S.A., Inc. v. Canner, 645 F. Supp.

484, 489 (S.D. Fla. 1986) (“[a]t the Hearing, counsel for the Plaintiff presented this Court

with genuine watches and counterfeit watches for inspection. The Court placed both


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products side-by-side and held them up for comparison.”). Furthermore, determining

whether two marks are substantially indistinguishable is solely and uniquely the province of

the fact finder. In the case of a jury trial, this means members of the jury must use their own

eyes to determine if the marks are substantially indistinguishable. Any insinuation of the

“average purchaser,” “average consumer,” “average person,” “ordinary consumer,” or

“ordinary purchaser,” imports a mythical point of view of someone outside the jury room.

This is improper because the law requires that the jury decide for themselves, with their own

eyes, if marks are substantially indistinguishable. Thus, the jury is not to consider whether

the “average consumer” would think the marks are substantially indistinguishable and the

Government repeatedly recited the wrong legal standard to the jury.

       In addition to repeatedly stating the wrong legal standard, the Government did not

present any competent evidence with respect to whether the average consumer would have

thought Defendants’ Marco Mark and the Burberry Check Mark were substantially

indistinguishable. The Government consistently referred to witnesses Beatrice Bartko and

Frances Abel, both of whom purchased handbags bearing Defendants’ counterfeit marks

thinking they were authentic Burberry bags, as “the average consumer.” The Government

called Bartko and Abel as witnesses for the likelihood of confusion element of the

counterfeiting claim only. Thus, their testimony could only be used as evidence that the

average consumer would likely have been confused if she saw Defendants’ merchandise in

the marketplace. The Government did not err in using Bartko and Abel’s testimony to make

the point that they were confused when they looked at Defendants’ merchandise, as the


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purpose of their testimony was to prove the likelihood of confusion element of the

counterfeiting charges. The Government was not allowed, however, to use these witnesses as

evidence that the marks were substantially indistinguishable because they were not called

for that purpose. Thus, even if an “average consumer” analysis was relevant to the

substantially indistinguishable element, the Government presented no evidence that the

average consumer would have thought the marks were substantially indistinguishable.

                  ii. The Government’s Comments Were Prejudicial

       A court should consider several factors when determining if a prosecutor’s remarks or

conduct were unduly prejudicial:

       ‘(1) the degree to which the prosecutor’s remarks have a tendency to mislead
       the jury and to prejudice the accused; (2) whether the remarks were isolated or
       extensive; (3) absent the remarks, the strength of competent proof introduced
       to establish the guilt of the accused; and (4) whether the comments were
       deliberately placed before the jury to divert attention to extraneous matters.’

United States v. Adam, 70 F.3d 776, 780 (4th Cir. 1995) (quoting United States v. Harrison,

716 F.2d 1050, 1052 (4th Cir. 1983)). Courts must also consider whether defense counsel

invited the prosecutor’s remarks, United States v. Young, 470 U.S. 1, 12-13 (1985), and

whether the court gave the jury a curative instruction, Harrison, 716 F.2d at 1053. No one

factor is dispositive. United States v. Lighty, 616 F.3d 321, 361 (4th Cir. 2010).

       Defendants assert that each factor counsels in favor of a finding that the

Government’s remarks were unduly prejudicial. First, Defendants argue that the

Government’s remarks were prejudicial and misleading because the central inquiry in the

case was whether Defendant’s Marco Mark and the Burberry Check Mark were substantially


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indistinguishable and the Government argued that the marks were substantially

indistinguishable because Abel and Bartko were confused when they purchased Defendants’

handbags. Defendants further assert that, instead of telling the jury to compare the bags side-

by-side, the Government told the jury to imagine they were shopping and to rely on their

memories of what the registered Burberry Check Mark looked like in making the

substantially indistinguishable determination, which is misleading and prejudicial.

       Defendants next assert that the remarks were extensive because the Government used

Abel’s and Bartko’s shopping experiences as a theme throughout its closing argument.

Specifically, Defendants assert that the Government repeatedly told the jury to consider

Abel’s and Bartko’s experiences when determining if the marks were substantially

indistinguishable, instead of telling the jury to focus on comparing the marks side-by-side.

With respect to the third factor, Defendants argue that, without the Government’s improper

remarks, there was little proof to establish Defendants’ guilt. Defendants offer as proof the

fact that the first trial, at which the Government did not use Abel and Bartko, ended in a

mistrial because of a hung jury. For the fourth factor, Defendants argue that the

Government’s comments were deliberate and made to divert attention to extraneous matters

because, despite numerous sustained objections, the Government continued to make

improper remarks and used Bartko’s and Abel’s testimony as evidence on an element for

which they were not called. Defendants argue that the fifth factor is satisfied because counsel

did not invite the Government’s improper remarks. Finally, Defendants assert that the

Court’s curative instruction was not sufficient to overcome the Government’s conduct


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because it is not apparent that all jurors understood that they were to engage in a side-by-

side comparison of the marks to determine if they were substantially indistinguishable.

       The Court finds that the Government’s remarks were prejudicial. First, the

Government did mislead the jury by conflating the standards for likelihood of confusion and

substantially indistinguishable when counsel repeatedly told members of the jury to put

themselves into the shoes of the “average purchaser” or “average consumer” when deciding if

the Burberry Check Mark and Defendants’ Marco Mark were substantially indistinguishable.

       The Court further finds that the Government’s comments were extensive. Counsel for

the Government referred to an erroneous legal standard multiple times in both the closing

argument and the rebuttal. John Zacharia, counsel for the Government, first told members of

the jury that they should put themselves in the shoes of the average purchaser to determine

if Defendants’ Marco Mark and the Burberry Check Mark were substantially

indistinguishable near the beginning of his closing argument. See Jury Trial Excerpts 12:9–

12:11, June 9-10, 2010, ECF No. 301 (“Now, in considering this question, you have to make

your determination from the perspective of an average purchaser, not an expert. An average

purchaser.”). Zacharia reiterated the theme moments later:

       So you as the jury have the job of standing up and putting yourselves in the shoes of
       an average purchaser, which is probably no longer anybody in this room because we
       have been in this room for a long time looking at these marks. So putting yourselves
       in the shoes of average purchasers on the street, purchasers like Bea Bartko,
       purchasers like Fran Abel. . . .

Jury Trial Excerpts 12:24–13:3, June 9-10, 2010, ECF No. 301.




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       Brian Hood, Zacharia’s co-counsel, picked up on the theme during the rebuttal and

continued to argue the “average consumer” standard to the jury. Within moments of

beginning his rebuttal, Hood stated: “[a]nd as you look at the Gucci bags, the Block G, the

Squared G . . . if you don’t believe those are substantially indistinguishable from the

perspective of an average person, an average consumer, you should find the defendants

guilty.” Excerpt from Proceedings 2:23–3:3, June 10, 2010, ECF No. 296. Hood followed this

statement, after the Court sustained an objection by all three Defendants’ counsel, with:

“[b]ut what the government suggests, what the government submits, is this: [t]hat the

evidence has proven that these bags are substantially indistinguishable from authentic marks

owned by Burberry and Gucci to the average consumer.” Excerpt from Proceedings 3:7-3:11,

June 10, 2010, ECF No. 296. At this point, the Court allowed Hood to continue over

objection of Defendants’ counsel and indicated that the Court would clear up the confusion

created by Hood with jury instructions. Despite several more objections, Hood continued to

advance his argument that members of the jury should decide whether the marks were

substantially indistinguishable by putting themselves into the shoes of the average purchaser:

        You can distinguish something, you can distinguish differences, and still,
        nonetheless, the mark could be substantially indistinguishable from the
        authentic mark. It is about common sense. It is about common sense from the
        perspective of the average, ordinary consumer. Excerpt from Proceedings 6:2–
        6:7, June 10, 2010, ECF No. 296.
                                                 ***
        And ladies and gentlemen of the jury, you have a difficult task. You have a
        difficult task, because you are supposed to assess these facts and look at these
        Burberry knock-offs and these Gucci knock-offs from the standpoint of an
        average consumer. You have been in this case listening to it for a week. You
        have already developed a level of expertise and a perception of detail that I


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        would argue is way above the average consumer. Excerpt from Proceedings
        7:24–8:6, June 10, 2010, ECF No. 296.
                                                   ***
        Now, Mr. Zwerling in his closing arguments basically said you have to look at
        the differences. Sure, you do look at the differences. But you start with the
        similarities. That’s what the ordinary consumer does. The ordinary consumer
        sees things and sees the similarities and is drawn to it based on the
        similarities. And just as Mr. McKenna admitted on cross-examination,
        compare the brown field, compare the black vertical stripes, compare the
        black horizontal stripes, compare the white or light stripes in between,
        compare the red field in the center. There are so many similarities, they are
        substantially indistinguishable to the ordinary purchaser. Excerpt from
        Proceedings 9:15–10:1, June 10, 2010, ECF No. 296.
                                                   ***
        Keep your eye on the perspective of the average person when you’re looking
        at substantially indistinguishable. . . . Excerpt from Proceedings 24:23–24:25,
        June 10, 2010, ECF No. 296.
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       Because counsel for the Government made improper remarks regarding the standard

for determining if two marks are substantially indistinguishable no fewer than eight times

during closing arguments, the Court believes that the remarks can be fairly described as

extensive or pervasive.

       With respect to the strength of the evidence without the remarks, the Court finds

that the Government did not present a wealth of other evidence to prove the substantially

indistinguishable element of a counterfeiting charge. There is, however, some evidence of

conscious decisions made by Defendants that indicate Defendants likely knew they were

culpable, which can bear on the substantially indistinguishable element of the counterfeiting

charge. First, Defendants created multiple shell corporations to receive merchandise. That

there were so many corporations with different names owned by the same people, engaging



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in the same activity, indicates a conscious decision on Defendants’ part to make it more

difficult for CBP agents to track their activity. Second, Defendants imported the bags with

the counterfeit marks into various ports throughout the country, despite the fact that their

businesses were all headquartered in New York City, thereby making it even more difficult

to track the illegal activity and trace it to Defendants. A related matter is the fact that

Defendants received several seizure notices from the various ports indicating the goods

seized could potentially counterfeit registered marks. If Defendants were not initially aware

that their merchandise featured marks identical to or substantially indistinguishable from

marks registered by companies such as Burberry for use on luxury goods, certainly they were

made aware that the merchandise was potentially counterfeit when they received the seizure

notices. Finally, the way Defendants’ merchandise was packaged and shipped to the United

States indicates some culpability. Defendants’ handbags and wallets arrived at the various

ports with flaps covering the marks on the merchandise. The flaps were subsequently

removed, after delivery to Defendants. Furthermore, the way the merchandise was packaged

indicates culpability. Defendants had the merchandise packaged such that generic

merchandise, that is merchandise without any potentially counterfeit marks, was located on

the tops and the bottoms of the pallets that arrived into the ports. Between the piles of

generic merchandise was the merchandise bearing the counterfeit marks. The Court finds

that this evidence could have been used to prove that the marks were substantially

indistinguishable, as Defendants would not have gone to such great lengths to disguise the




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merchandise had they not thought their marks were identical to or substantially

indistinguishable from registered marks.

       The next factor the Court must consider is whether the Government’s comments

were deliberate. The Court finds that, while the Government’s comments were extensive,

they were not deliberate. The Government’s arguments at the November 4, 2010 hearing on

Defendants’ Post-Trial Motion indicated to the Court that counsel for the Government

genuinely believed (1) he told the jury the correct standard for determining if the marks

were substantially indistinguishable at trial and (2) he was correct in making the same

argument at the hearing on the Post-Trial Motion. Thus, the Government did not

deliberately set forth the wrong standard for the substantially indistinguishable element of

the counterfeiting claim. With respect to the fifth factor, the Court agrees with Defendants’

counsel that they did nothing to invite the Government’s improper remarks.

                 iii. The Effect of the Court’s Curative Instruction

       The final factor that the Court must consider is the effect of the Court’s curative

instruction. The Government argues that any conceivable prejudice against Defendants was

cured by the Court’s instructions. There is a presumption that juries obey limiting

instructions. United States v. Francisco, 35 F.3d 116, 119 (4th Cir. 1994). The Court

instructed the jury to compare the marks side-by-side to determine if they were substantially

indistinguishable. If the jury found that the marks were substantially indistinguishable, the

Court instructed the jury to consider whether Defendants’ Marco Mark was a counterfeit




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likely to cause confusion. The Government maintains these instructions kept any improper

remark from being prejudicial.

       Defendants, on the other hand, contend that the Court’s curative instruction was not

sufficient to overcome the Government’s improper conduct. Defendants argue that the

presumption that juries obey limiting instructions ceases to exist if the Government

repeatedly makes improper remarks at trial. See United States v. Rich, 326 F. Supp. 2d 670,

682 (E.D. Pa. 2004) (“[a]t some point, a curative instruction cannot undo the damage of

improper argument.”). Defendants argue that the curative instruction was not sufficient in

this case because, even after the instruction was given, the jury indicated to the Court that

they were unable to remember the oral modifications made to the written instructions by

sending the Court a note during deliberations asking if they had to first determine if the

marks were substantially indistinguishable before determining if Defendants’ Marco Mark

was likely to cause confusion. Defendants argue that the jury’s question, combined with the

complex issues presented at trial, make it likely that not all jurors understood that, in making

the substantially indistinguishable determination, they needed to make a side-by-side

comparison of the two marks with their own eyes and not consider what the average

consumer would think.

       The Court finds that the curative instruction did, in fact, cure any prejudice created

by the Governments’ improper remarks. The curative instruction at issue reads as follows:

       The third element of the offense charged is that the defendant used a
       counterfeit mark on or in connection with goods. A mark is a word, name,
       symbol, or device or any combination thereof used to identify and distinguish


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      goods or services from those manufactured and sold by others and to indicate
      their source. A mark used on or in the sale of goods is known as a trademark.

      A counterfeit mark is a mark that is spurious or not genuine or authentic. It is
      identical with or substantially indistinguishable from a mark in use and
      registered for those same goods on the Principal Register in the United States
      Patent and Trademark Office. Finally, a counterfeit mark is a mark the use of
      which is likely to cause confusion, to cause mistake, or to deceive.

      Now, we had a lot of argument, a lot of information coming at you about this
      particular issue. And obviously, by now you recognize it is critical.

      Now, the one thing that I want you to understand, that paragraph I just gave
      you outlines two separate issues. One, you have to determine whether or not
      the mark that is alleged to be counterfeit is identical to or substantially
      indistinguishable from the mark that is registered on the same goods in the
      Principal Register of the United States Patent and Trademark Office. Now, in
      order to carry out your responsibility as it relates to that part of these
      instructions, you have to compare the marks, the mark on the [sic] alleged to
      be counterfeit and the mark that is the genuine mark.

      Now, you do that and you make a decision. This is based on your side-by-side
      comparison, use of your own eyes, and any other evidence that came into the
      record that might help you in that task. But it is for you to decide. If you
      decide that the mark is not identical or substantially indistinguishable, that
      pretty much ends the inquiry. That means it is not counterfeit. If you decide
      that it is substantially indistinguishable, then you have another task to deal
      with, and that task has to do with now that you have decided that it is
      counterfeit under the definition that I have given you, you have to decide
      whether or not this counterfeit mark is a mark the use of which is likely to
      cause confusion or cause mistake or to deceive. Everybody understanding that?
      It is two separate things. Now a lot of that got clouded up in some of these
      arguments and some of the discussion. What must be counterfeit is the mark
      itself, not the goods.

      Excerpt from Jury Instructions 2:3–3:23, June 10, 2010, ECF No. 308.

      In addition to this curative instruction, the Court gave two additional instructions

that work to negate any prejudice created by the Government’s improper comments. Before



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giving any instructions at all, the Court told members of the jury that they were to be guided

by the Court, not counsel, on what the law is and that the instructions to be given after a

brief recess would clear up any confusion created by the parties. Excerpt from Proceedings

25:19 – 26:5, June 10, 2010, ECF No. 296. Importantly, the Court gave this instruction less

than one minute after counsel for the Government finished making the closing argument

during which he repeatedly referenced the wrong legal standard for determining whether

two marks are substantially indistinguishable. Thus, almost immediately after counsel for the

Government made its closing argument, the Court told members of the jury that they were

not to consider what the parties’ counsel said the law was, but, instead to consider only what

the Court would eventually say the law was.

       Finally, the Court gave an instruction directing the jury to use the law explained by

the Court, not by counsel. The instruction states: “[i]n determining what actually happened

in this case – that is, in reaching your decision as to the facts – it is your sworn duty to follow

the law I am now in the process of defining for you. . . . It is your duty to apply the law as I

give it to you, regardless of the consequences.” Jury Instruction No. 2.

       The Court finds that the combination of the curative instruction, the instruction

directing the jury to follow the law set forth by the Court and the direction to use the law as

described by the Court that came immediately after the Government’s closing argument

were sufficient to negate any prejudice that may have resulted from the Government’s

arguing the wrong legal standard. The Court further finds that there is evidence that the jury

obeyed the instructions. While the jury convicted Defendants of counterfeiting the Burberry


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Check Mark, it acquitted Defendants of counterfeiting a “G” mark registered by Gucci

America, Inc. (“Gucci”) charged in count four of the Superseding Indictment. Thus, after

hearing all of the Court’s instructions, the jury was able to determine that Defendants’ “G”

mark was not substantially indistinguishable from Gucci’s “G” mark, but that Defendants’

Marco Mark was substantially indistinguishable from the Burberry Check Mark. Because it

appears to the Court that the curative instruction worked to negate any potential prejudice

against Defendants, the Court finds that Defendants are not entitled to a new trial, and

Defendants’ Motion is denied.

   IV.      CONCLUSION

         The Superseding Indictment returned against Defendants charged them with

counterfeiting several registered trademarks. The evidence against Defendants was sufficient

to justify a guilty verdict and a reasonable jury found that Defendant’s Marco Mark did, in

fact, counterfeit Burberry’s Check Mark. Accordingly, Defendants’ Rule 29(c) Motion for

Judgment of Acquittal is DENIED. Defendants moved for a new trial on the grounds that the

Government’s statements regarding whether Defendants’ Marco Mark was substantially

indistinguishable from Burberry’s Check Mark were erroneous and prejudicial. The Court

agrees with Defendants that the Government’s remarks were erroneous and finds that the

marks could have been prejudicial against Defendants. The Court further finds, however,

that the curative instruction given the jury, combined with the directions to listen to the

Court with respect to matters of law, negate any potential prejudice. Accordingly,




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Defendants’ Motion for a New Trial pursuant to Rule 33 of the Federal Rules of Criminal

Procedure is also DENIED.

       Let the Clerk send a copy of this Memorandum Opinion to all counsel of record.

       An appropriate Order shall issue.




                                            __________________/s/_________________
                                            James R. Spencer
                                            Chief United States District Judge




ENTERED this 14th        day of December 2010




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